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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALs 1-3, et al.,

                                Plaintiffs,
                                                               Case No. 4:21-cv-01236-O
        v.

LLOYD J. AUSTIN, III in his official capacity as
United States Secretary of Defense, et al.,

                                Defendants.


              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants respectfully provide notice that several courts have recently acted on mootness

issues in cases challenging the armed services’ vaccination requirements for COVID-19 following

rescission of that requirement. Three Courts of Appeal, including the D.C. Circuit, the Eighth Circuit

and two panels of the Ninth Circuit Court of Appeals, dismissed Service members’ appeals from the

denial of preliminary injunctions prohibiting enforcement of the military’s COVID-19 vaccination

requirement, finding moot those requests for injunctive relief. See Roth v. Austin, No. 22-2058, 2023

WL 2531885 (8th Cir. Mar. 16, 2023) (unanimously concluding that issue was moot in light of statutory

rescission); Navy Seal 1 v. Austin, Nos. 22-5114, 22-5135, 2023 WL 2482927 (D.C. Cir. Mar. 10, 2023)

(per curiam) (dismissing appeals and vacating judgments as moot); Short v. Berger, Nos. 22-15755, 22-

16607 (9th Cir. Feb. 24, 2023); Dunn v. Austin, No. 22-15286 (9th Cir. Feb. 27, 2023). Several district

courts have likewise noted that challenges to the COVID-19 vaccination requirement are moot. See

Alvarado v. Austin, No. 122CV876AJT-JFA, 2023 WL 2089246, at *3 (E.D. Va. Feb. 17, 2023) (“re-

quests and any relief therefrom are now stale given the Rescission Memo”); Chancy, et al. v. Biden, et al.,

1:22-cv-110, ECF No. 32 (N.D. Fla. Feb. 14, 2023) (dismissing case challenging military COVID-19

vaccine requirement as moot); Clements v. Austin, No. 2:22-2069-RMG, ECF No. 57 (D.S.C. March 7,

2023) (denying preliminary injunction as moot). Other cases related to the DoD vaccine requirement
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have been voluntarily dismissed after the rescission. See Okla. v. Biden, No: 5:21-cv-01136, ECF Nos.

77, 78, 82 (W.D. Okla. Feb. 17, 2023 and March 7, 2023); Church v. Biden, No. 1:21-cv-2815, ECF No

43 (D.D.C. Jan. 23, 2023); Air Force Major v. Austin, No. 3:22-cv-00756, ECF No. 25 (N.D. Tex. March

7, 2023).

Dated: March 20, 2023                         Respectfully submitted,

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